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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS EARPLUG                       Case No. 3:19md2885
 PRODUCTS
 LIABILITY LITIGATION
                                                     Judge M. Casey Rodgers
 This Document Relates to All Cases                  Magistrate Judge Gary R. Jones


                                   PRETRIAL ORDER NO. 10
                ORDER GOVERNING PRODUCTION OF DOCUMENTS AND
                    ELECTRONICALLY STORED INFORMATION

           The following Order governs the production of documents and electronically stored

information (“ESI”) and shall apply to all discovery of ESI and hard copy documents in this case,

unless the Parties agree in advance and in writing or if this Order is modified by the Court.

           Except as specifically set forth herein, this Order does not: (a) alter or affect the

applicability of the Federal Rules of Civil Procedure (“Federal Rules”) or any Local Rules of the

U.S. District Courts (“Local Rules”), as applicable; (b) address, limit, determine, or affect the

relevance, discoverability, or admissibility as evidence of any document or ESI, regardless of

whether the document or ESI is to be preserved, is preserved, or is produced; or (c) alter or affect

the objections to discovery available under the Federal Rules. The purpose of this Order is to

facilitate the exchange of ESI and hard copy documents in an efficient manner and in accordance

with the Federal Rules. By stipulating to this Order and agreeing to produce documents, generally,

in a particular form or forms, no Party waives any objections to producing any particular document

or category of documents on any grounds whatsoever.

      I.          Format for Defendants’ Productions

           The following section governs the production of documents and electronically stored

information (“ESI”) by 3M Company, Aearo Technologies LLC, Aearo Holdings, LLC, Aearo
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Intermediate, LLC, Aearo, LLC, and any of their related or affiliated entities or individuals named

as defendants herein (collectively, “Defendants”), and shall apply to all discovery of ESI and hard

copy documents by Defendants in this case, unless the Parties agree in advance and in writing or

if this Order is modified by the Court.

               (a)     File Types and Formats. All spreadsheet (e.g., Microsoft Excel, Corel

       Quattro, etc.) files shall be produced as native files with TIFF placeholder images. All

       word processing (e.g., Microsoft Word), presentation (e.g., Microsoft PowerPoint), image

       (e.g., .jpg, .gif), and PDF files shall be produced as native files with TIFF placeholder

       images where reasonably possible, unless redactions are required, in which case such files

       shall be produced as TIFFs. All media files, such as audio and video files, shall be

       produced as native files with TIFF placeholder images. Emails shall be produced as TIFFs.

       The Parties will meet and confer on the production of other file types, such as CAD

       drawings, GIS data, materials and prototypes testing, etc. In advance of depositions, the

       Parties reserve the right to produce TIFF versions of any previously produced native file at

       their discretion.

               (b)     Native Files. Any document produced in native file format shall be given a

       file name consisting of a unique Bates number and, as applicable, a confidentiality

       designation; for example, “ABC00000002_Confidential.” For each native file produced,

       the production will include a *.tiff image slipsheet indicating the production number of the

       native file and the confidentiality designation, and stating “File Provided Natively.” To

       the extent that it is available, the original document text shall be provided in a document-

       level multi-page UTF-8 with BOM text file with a text path provided in the *.dat file;

       otherwise the text contained on the slipsheet language shall be provided in the *.txt file




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     with the text path provided in the *.dat file. Native files will be produced in a separate

     folder on the production media. Where redaction makes production of native-format files

     other than spreadsheets infeasible, the Parties will confer to determine a reasonably usable

     form for the production.

            (c)     TIFF Images. Any document produced as TIFF images shall be named

     according to the Bates number of the corresponding TIFF image. Each *.tiff file should be

     assigned a unique name matching the Bates number of the corresponding image. All TIFF

     images should be provided in single-page, Group IV TIFF with a resolution of 300 DPI.

     Bates numbers and confidentiality designations should be electronically branded on each

     produced *.tiff image. These *.tiff images should be provided in a separate folder and the

     number of TIFF files per folder should be limited to 1,000 files.

            (d)     Digital Photos. Where reasonably possible, all digital photographs will be

     produced as full color image files in their native file format at their original resolution.

            (e)     Databases, Structured, Aggregated or Application Data. The Parties will

     meet and confer to address the production and production format of any responsive data

     contained in a database or other structured or aggregated data source or otherwise

     maintained by an application. The Parties will reasonably cooperate in the exchange of

     information concerning such databases to facilitate discussions on productions and

     production format. If the Parties cannot reach agreement, the matter will be decided by the

     Court or its designee.

            (f)     Hard Copy Documents. Documents that exist in hardcopy will be scanned

     to *.tiff image format as set forth in Subsection I(c) above. Defendants’ hard copy

     documents that are not text-searchable shall be made searchable by OCR prior to




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       production where possible. In scanning paper documents, distinct documents should not be

       merged into a single record, and single documents should not be split into multiple records

       (i.e., paper documents should be logically unitized 1).       In the case of an organized

       compilation of separate documents (for example, a binder containing several separate

       documents behind numbered tabs), the document behind each tab should be scanned

       separately, but the relationship among the documents in the compilation should be reflected

       in the proper coding of the beginning and ending document and attachment fields.

       Defendants will make their best efforts to unitize the documents correctly.

                (g)    De-NISTing. Electronic files will be De-NISTed, removing commercially

       available operating system and application file information contained on the current NIST

       file list.

                (h)    Deduplication. Defendants shall make reasonable efforts to de-duplicate

       ESI. ESI produced by Defendants shall be globally de-duplicated across all collected

       custodial and non-custodial sources. Documents are considered exact duplicates if a

       document family or stand-alone file has a matching MD5 or SHA-1 hash value as

       compared against the same document type (i.e., family or stand-alone file). Hash values of

       emails will be calculated on the concatenated values of at least the following fields: From,

       To, CC, BCC, Subject, Date Sent, Time Sent, Attachment Names, Body, and the hash

       values of all attachments. The names of all custodians and non-custodial sources who were

       in possession of a document prior to deduplication will be populated in the ALL



1
    Logical Unitization is the process of human review of each individual page in an image
    collection using logical cues to determine pages that belong together as documents. Such cues
    can be consecutive page numbering, report titles, similar headers and footers, and other logical
    indicators.



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       CUSTODIANS metadata field. The original file paths of a document prior to deduplication

       will be populated in the ALL FILE PATHS 2 metadata field.

               (i)     Embedded Files. Embedded files, except for images embedded in emails,

       are to be produced as family groups. Embedded files should be assigned Bates numbers

       that directly follow the Bates numbers on the documents within which they are embedded.

               (j)     Dynamic Fields. Documents with dynamic fields for file names, dates, and

       times will be processed to show the field code (e.g., “[FILENAME]”), rather than the

       values for such fields existing at the time the file is processed.

               (k)     Parent-Child Relationships.         For email families, the parent-child

       relationships (the association between emails and attachments) should be preserved. Email

       attachments should be consecutively produced with the parent email record.

               (l)     Time Zone. All provided metadata pertaining to dates and times will be

       standardized to UTC.

               (m)     Bates Numbering.        Bates numbering should be consistent across the

       production, contain no special characters, and be numerically sequential within a given

       document. If a Bates number or set of Bates numbers is skipped, the skipped number or

       set of numbers should be noted with a placeholder. Attachments to documents will be

       assigned Bates numbers that directly follow the Bates numbers on the documents to which




2
    ALL FILE PATHS metadata field shall include the original file/folder paths, including file
    name for non-emails, where reasonably available, of all the locations where copies of the item
    were located at the time of collection, separated by semi-colons, in the order corresponding to
    the order of names in ALL CUSTODIANS. For emails collected from container files (e.g.,
    .pst’s), these include the original file paths of the container files and the location of the emails
    within the folder structure of the mail container/.pst from which it was collected, where
    reasonably available.



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     they were attached. In addition, wherever possible, each *.tiff image will have its assigned

     Bates number electronically “burned” onto the image. The Bates number shall:

                    (i)       be consistent across the production;

                    (ii)      contain no special characters; and

                    (iii)     be numerically sequential within a given document.

            (n)     Excluded File Types.         Absent a particularized need and good cause

     showing, the Parties agree that there is no need to collect ESI from the following sources:

                    (i) Deleted, slack, fragmented, or other data only accessible by forensics;

                    (ii) Random access memory (RAM), temporary files, or other data difficult

                            to preserve without disabling the operating system;

                    (iii) On-line access data such as temporary internet files, history, cache,

                            cookies, and the like;

                    (iv) Back-up data that is duplicative of data that can be collected elsewhere;

                            and

                    (v) Server, system, or network logs.

            (o)     Redactions. Other than as permitted by this Order or the order concerning

     confidentiality agreed and/or entered in this litigation, no redactions for relevance may be

     made within a produced document or ESI item. Any redactions shall be clearly indicated

     on the face of the document, with each redacted portion of the document stating that it has

     been redacted and the basis for the redaction, and a metadata field shall indicate that the

     document contains redactions and the basis for the redaction (e.g., “A/C Privilege”).

     Where a responsive document contains both redacted and non-redacted content,




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     Defendants shall produce the remainder of the non-redacted portions of the document and

     the text/OCR corresponding to the non-redacted portions.

                   (i)     Spreadsheets.     Spreadsheet files requiring redaction, including

            Microsoft Excel files, will be redacted within the native file, and the redacted native

            file will be produced as provide herein.

                   (ii)    Other Documents. All native files that require redaction shall first

            be processed to show and reveal all color, comments, revision marks, speaker notes,

            or other user-entered data which are visible in any view of the document in its native

            application, all of which shall be evident in the generated TIFF image(s). Where

            reasonably possible, any occurrences of date/time auto‐field items, including in

            headers and footers, will be removed and replaced with the term AUTODATE to

            prevent the current date from being printed. Email header information (e.g. date,

            subject line, etc.) should not be redacted unless it is independently privileged. The

            production of a document in a redacted form does not affect Defendants’ obligation

            to timely assert and substantiate the assertion of privilege over the content in a

            privilege log. Defendants shall honor reasonable requests for the production of

            particular redacted documents in other formats where the TIFF image is not

            reasonably usable. Redacted versions of documents that contained color in their

            un-redacted form shall be produced in color in TIFF format.

            (p)    Load File Formats. ESI will be produced with a standard Concordance

     (*.dat) load file format and an image load file that is in .OPT format. The Concordance

     (*.dat) load file shall be provided with UTF-8 encoding.




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            (q)    Metadata to Be Produced. The metadata fields detailed in Exhibit A should

     be produced for each document to the extent that such information is available or, in the

     case of metadata created during processing such as Bates numbers, created, at the time of

     collection and processing, except that if a field contains privileged information, that

     privileged information may be redacted and noted in a corresponding privilege log.

            (r)    Extracted Text and OCR. Each document, whether produced in Native or

     in TIFF format, and whether originally existing in electronic or in hard copy, shall be

     produced with extracted text or OCR, as described herein.

                   (i)     Extracted Text (Emails, Unredacted Native ESI, and Redacted

            Spreadsheets). All email, un-redacted ESI, and redacted spreadsheets produced as

            native files, should be provided with complete document-level extracted text files.

            Extracted text shall include all comments, revisions, tracked changes, speaker’s

            notes and text from documents with comments or tracked changes, and hidden and

            very hidden worksheets, slides, columns and rows. Text extracted from emails shall

            include all header information that would be visible if the email was viewed in

            Outlook including: (1) the individuals to whom the communication was directed

            (“To”), (2) the author of the email communication (“From”), (3) who was copied

            and blind copied on such email (“CC” and “BCC”), (4) the subject line of the email

            (“RE” or “Subject”), (5) the date and time of the email, and (6) the names of any

            attachments.

                   (ii)    OCR (Redacted Native ESI, Hard Copy Documents). In the event a

            document other than spreadsheets, e.g., Excel files, contains text that is to be

            redacted, Optical Character Recognition (“OCR”) text files should be provided for




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            any un-redacted portions of the documents. Document-level OCR text files shall

            also be provided for all hard copy scanned documents. OCR software must be set

            to the highest quality setting for any previously unscanned paper documents, and

            reasonable quality control measures shall be used to ensure that the integrity of

            scanned copies of previously unscanned paper documents are preserved for OCR

            (e.g., pages are not angled or skewed, text is not blurred or obscured, etc.).

            Documents containing foreign language text must be OCR’d using the appropriate

            settings for that language, (e.g., OCR of German documents must use settings that

            properly capture umlauts and OCR of Asian language documents must properly

            capture the relevant Asian characters). Settings such as “auto-deskewing” and

            “auto-rotation” must be turned on during the OCR process to maximize text

            recognition on any given page.

                    (iii)   Format of Extracted Text and OCR. The extracted full text and/or

            OCR text for all deliverables should be in separate document-level, UTF-8 with

            BOM encoded TXT files provided in a separate folder. The number of TXT files

            per folder should be limited to 1,000 files.

            (s)     Encryption. To maximize the security of information in transit, any media

     or file sharing electronic document repository on which documents are produced must be

     encrypted by Defendants. Production deliverables provided via File Transfer Protocol

     (“FTP”) shall be made available on a secured FTP connection with AES 256-bit

     encryption. All production volumes uploaded by Defendants via this file sharing document

     repository shall remain available for download for no less than thirty (30) calendar days.

     In such cases, the Defendants shall transmit the encryption key or password to a requesting




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         Party, under separate cover, contemporaneously with sending the encrypted media, or

         correspondence indicating the availability of the encrypted FTP deliverables.

   II.          Defendants’ Identification and Classification of Documents

                (a)     Agreement Regarding Technology-Assisted Review.

                        (i)     TAR Cooperation. The Parties acknowledge the benefits of using

         technology-assisted review (“TAR”) technology and methodology, such as predictive

         coding systems, in assisting in the identification of responsive documents. Used properly

         and transparently between the Parties, subject to negotiation, an appropriate and reasonable

         TAR protocol can aid in identifying responsive documents, and do so with maximum

         efficiency.

                        (ii)    TAR Limitations. By agreeing to use TAR in this MDL, Defendants

         do not acknowledge or concede that they are obligated to use TAR in any other matter,

         including, without limitation, earplug-related matters pending in any state courts.

         Moreover, by agreeing to use TAR in this MDL, the Defendants do not intend to waive

         any rights or protections pursuant to privacy, confidentiality, attorney-client privilege,

         attorney work product, and any other privileges, protections, or objections to discovery

         (individually, “Privilege”; collectively, “Privileges”). Defendants preserve all such

         Privileges.

                        (iii)   TAR Protocol. The Parties agree to use TAR to identify and classify

         potentially responsive documents in connection with Defendants’ production. The Parties

         will jointly agree to the TAR system that they propose to use to identify and classify

         documents, and set out their proposed TAR system, workflow and validation processes in

         a separate formal TAR protocol to be agreed upon between the Parties.




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                         (iv)    Meet and Confer. The Parties agree to meet and confer concerning

         the TAR protocol to be used for Defendants’ production, and to submit their joint proposed

         TAR protocol or points of dispute for resolution by the Court within fourteen (14) days of

         the date of the entry of this order.

  III.           Required Production Format for Plaintiffs’ Productions

                 (a)     The Parties anticipate that the production of Plaintiffs’ case-specific

         materials will be the subject of a future Court order. Absent further agreement or order of

         the Court, Plaintiffs’ counsel shall produce case-specific materials in native file format,

         PDF, or such other reasonably useable format that retains the relevant characteristics of the

         original document. Any document that requires redaction shall be produced in image

         format, e.g., TIFF or PDF. All of Plaintiffs’ production documents shall be uniquely named

         and sequentially numbered with Bates Stamps.

                 (b)     For email families in Plaintiffs’ productions, the parent-child relationships

         (the association between emails and attachments) should be preserved, i.e., email

         attachments should be consecutively produced with the parent email record.

                 (c)     To the extent Plaintiffs produce a document other than in native format, and

         Defendants request metadata or other information, the Parties shall reasonably confer about

         an alternative production format for such document, including the necessity for such

         alternative production format. Any such request by a Defendant shall be specific and

         targeted.

  IV.            Provisions Applicable To Both Plaintiffs’ and Defendants’ Productions.

                 (a)     Known Responsive Material Must Be Produced. ESI that is known to

         Plaintiffs’ Counsel or Defendants’ Counsel to be non-privileged and responsive to a




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     discovery request shall be produced without regard to whether it was responsive to a search

     term, of high “relevance” by a TAR text classification algorithm, or otherwise flagged as

     potentially responsive by another search technique, unless Counsel specifically identifies

     the documents as being withheld pursuant to a specific objection.

            (b)     Discrete Document Collections.         Those portions of a Plaintiff’s or

     Defendant’s documents that represent discrete document collections, such as substantially

     relevant folders of ESI specifically segregated by Defendants, Defendants’ employees, or

     Plaintiffs, before or after the commencement of this litigation, that are substantially

     relevant to the claims and defenses in this proceeding, shall be reviewed for responsiveness

     (subject to appropriate claims of privilege) without regard to whether a given document in

     the collection is responsive to a search term, of high “relevance” by a TAR text

     classification algorithm, or otherwise flagged as potentially responsive by another search

     technique.

            (c)     Unsearchable Documents. Documents that are reasonably believed to be

     responsive and for which text-based search technologies are fundamentally ineffective,

     such as images, spreadsheets, etc., must be reviewed without culling by search terms,

     predictive coding, or other technologies that rely primarily on text.

            (d)     Use of Other Technology or Methodology. Prior to use or further use by

     any Party other than as specified within this protocol, the Parties must meet and confer to

     disclose and discuss any proposed use of software or other technologies used to identify or

     eliminate sources of potentially responsive documents, including keyword or Boolean

     searching, file type culling, de-duplication, filtering, near de-duplication, e-mail thread

     suppression, clustering or concept searching. Use of such technologies to reduce the




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        volume of materials to be collected or reviewed, other than as described within this

        document, requires the opposing party’s consent and will be subject to a separate mutually

        agreed-upon stipulation or Order of the Court setting forth the protocol for the use of such

        technologies as negotiated by the Parties.

               (e)     Additional or Alternate Methodologies for Documents from Certain

     Custodians and Non-Custodial Data Sources. The Parties will meet and confer to address

     the need for and implementation of additional or alternate methodologies for identifying

     possibly responsive documents from custodians and non-custodial data sources that may

     warrant such treatment.

               (f)     Mobile and Handheld Device Documents and Data. If responsive data that

     can reasonably be extracted and produced in the formats described herein is identified on

     a mobile or handheld device, that data shall be produced in accordance with the generic

     provisions of this protocol. To the extent that responsive data identified on a mobile or

     handheld device is not susceptible to normal production protocols, the Parties will meet

     and confer to address the identification, production, and production format of any

     responsive documents and data contained on any mobile or handheld device.

   V.          Parties’ Agreed-Upon Early Production of Documents

               (a)     Documents Produced by Defendants in Prior Proceedings. Documents

     produced by any Defendant herein in 3M Co. v. Moldex-Metric, Inc., Cause No. 12-611

     (D. Minn.); Moldex-Metric, Inc. v. 3M Innovative Properties Company, Cause No. 14-1821

     (D .Minn.); and/or United States ex rel. Moldex-Metric, Inc. v. 3M Company, 3:16-cv-

     01533-MBS, (the “Prior Proceedings”) shall be produced within ten (10) days of entry of

     this Order. Wherever possible, all metadata available shall be produced in accordance with




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     Exhibit A. Documents produced from Prior Proceedings shall bear the original Bates

     numbers assigned to them in those proceedings. To the extent any documents produced in

     Prior Proceedings are withheld from Defendants’ production to Plaintiffs, Defendants shall

     identify the basis on which the documents are being withheld, including any impacted

     custodians and document categories, to enable the Parties to confer about the potential later

     production of such documents.

            (b)     Production of Documents from Prior FOIA Requests. The Parties agree to

     produce documents obtained by Plaintiff Leadership, Defense Counsel, or Defendants

     pursuant to Freedom of Information Act (“FOIA”) requests received as of the date of the

     entry of this Order, within ten (10) days of entry of this Order in accordance with the

     production format specifications described in Section I. By agreeing to produce FOIA

     material in this MDL, the Parties do not acknowledge or concede that they are obligated to

     produce FOIA material in any other matter, including, without limitation, earplug-related

     matters pending in any state courts. Moreover, by agreeing to produce FOIA material in

     this MDL, the Parties do not intend to waive any rights or protections pursuant to privacy,

     confidentiality, attorney-client privilege, attorney work product, and any other privileges,

     protections, or objections to discovery (individually, “Privilege”; collectively,

     “Privileges”). The fact of the Parties’ agreement to produce these FOIA materials in this

     proceeding shall not be used by any person against any Party or their counsel in any way,

     in this or any other matter or proceeding, including as a basis to seek production of any

     other documents. The Parties preserve all rights.




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  VI.            Subpoenas, FOIA Requests, and Touhy Requests

                 (a)     If either Defense Counsel or Plaintiff Leadership (as the “Issuing Party”)

         issue a non-party subpoena, a FOIA request, or a Touhy request after the date of this Order,

         the Issuing Party shall include a copy of this Order with the subpoena and request that third

         parties produce data and documents in accordance with the production specifications set

         forth in Section I, to the extent feasible.

                 (b)     Nothing in this Order is intended or should be interpreted as narrowing,

         expanding, or otherwise affecting the rights of third parties to object to a subpoena.

                 (c)     The Issuing Party is responsible for producing any documents obtained

         pursuant to a subpoena, FOIA request, or Touhy request to the other Party, within fourteen

         (14) days of receipt of those documents.

                 (d)     If the non-party production is not Bates-stamped, the Issuing Party will

         apply unique prefixes for the non-party production and Bates numbers prior to producing

         them to the other Party.

  VII.           ESI Liaisons

                 To promote transparency, communications, and cooperation between the Parties,

         the Parties shall designate e-discovery liaisons for purposes of meeting and conferring on

         ESI topics. As proposed by the Parties, the ESI liaison for Plaintiffs shall be David

         Buchanan, or his designee, and the ESI liaison for 3M shall be Michelle Six, or her

         designee. All productions of ESI by any Party or non-party shall be sent to the Parties’

         respective ESI liaison and lead counsel, and any identified designees.




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 VIII.          Miscellaneous

                (a)     Impact of Order on Other Obligations. Nothing in this agreement shall

         affect the preservation requirements set forth in previous orders, subsequent orders, or any

         other preservation obligations of the Parties for these proceedings or for other purposes,

         such as pursuant to court order, administrative order, statute, or in response to other

         anticipated litigation. By preserving documents or ESI for the purpose of this litigation,

         the Parties are not conceding that such material is discoverable, nor are they waiving any

         claim of privilege.

                (b)     Continuing Obligations. The Parties will continue to meet and confer

         regarding any issues as necessary and appropriate, including agreeing to modify any of the

         dates and periods set forth in this Order. This Protocol does not address or resolve any

         objections to the scope of the Parties’ respective discovery requests.

                (c)     Reservation of Rights. The Parties retain the right, upon reviewing any

         productions made by another Party in this Action or conducting other investigation and

         discovery, to request that Documents from additional non-custodial data sources and

         custodians be produced. The Parties shall meet and confer regarding such request(s) prior

         to any search or production related thereto.

                (d)     Document Storage. During the pendency of this litigation, the Parties shall

         make reasonable efforts to preserve the originals of all hard copy and ESI documents

         produced to the opposing Parties and to preserve the original native format version of any

         ESI produced in non-native format.




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               (e)   No Waiver. This Order shall not constitute a waiver of any objection to the

     ultimate discoverability, privilege, admissibility, or relevance of any records addressed

     herein.

               (f)   Good Faith Compliance and Conferral Obligation. The Parties shall make

     good faith efforts to comply with and resolve any differences concerning compliance with

     this Order. No Party may seek relief from the Court concerning compliance with this Order

     unless it has first conferred with the other Parties. The Parties shall reasonably cooperate

     in the exchange of information concerning data systems and ESI as may be necessary to

     facilitate the discovery and exchange of ESI in these proceedings and to further the

     exchange of information commenced at the Parties’ Rule 26(f) Conference.

               (g)   Non-English Documents. To the extent that Documents are produced that

     contain languages other than English, in whole or in part, the Producing Party shall produce

     each such Document in the original language or languages in which it was written when

     collected. The Producing Party has no obligation to create a translation of the Documents

     or any portion thereof, but shall provide any translation of the Document or any portion

     thereof that exists or is created through machine translation prior to production of the

     Document.

               (h)   Alternate Formats. Notwithstanding the Parties’ stipulations herein, upon

     reasonable request made by the Receiving Party, the Parties shall confer regarding the

     production in an alternate format of a document previously produced in accordance with

     this order.




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            (i)     Third-Party Data. The Parties will meet and confer before serving any

     subpoenas in this matter on commercial e-mail providers, such as Google or Yahoo, or any

     social media companies, such as Facebook or Twitter.

            (j)     Effect of Order. The Parties’ agreement to this Order is without prejudice

     to the right of any Party to seek an order from the Court to rescind or amend this Order for

     good cause shown. Nothing in this Order shall abridge the rights of any person to seek

     judicial review or to pursue other appropriate judicial action with respect to any discovery

     ruling made by the Court in this matter.



     DONE and ORDERED on this 17th day of June, 2019.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




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